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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

 NOVELLA ATWOOD; CHRISTINE CID;
 CHERALEE          ENGLAND;          KATHLEEN         DEFENDANT’S MOTION TO
 GAGON; KRISTEN PUERTAS; JANICE                       CHANGE PARTY NAME ON
 RANDALL;        and SARAH            TYCHSEN,        DOCKET
 individually and on behalf of all others similarly
 situated,                                            Case No. 1:24-cv-00046-TC-DAO

                             Plaintiffs,              Judge Tena Campbell
                                                      Magistrate Judge Daphne A. Oberg
 vs.

 DOTDASH MEDIA, INC. D/B/A DOTDASH
 MEREDITH,

                        Defendant.
Case 1:24-cv-00046-TC-DAO Document 23 Filed 09/04/24 PageID.1214 Page 2 of 5




       In March 2024, Defendant Dotdash Media Inc. changed its name to Dotdash Meredith Inc.

(“DDM”). To reflect that name change, DDM respectfully requests that the Court direct the Clerk

of Court to change the party name on the docket of this action from “Dotdash Media Inc. d/b/a

Dotdash Meredith” to “Dotdash Meredith Inc. f/k/a Dotdash Media Inc.”



Dated: September 4, 2024                   Respectfully submitted,

                                           /s/ Kristen C. Rodriguez

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                               CERTIFICATE OF SERVICE

       I certify that on this 4th day of September, 2024, I filed the foregoing with the Court by

CM/ECF which then served all counsel of record.



                                                    /s/ Kristen C. Rodriguez
                                                    Kristen C. Rodriguez




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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

 NOVELLA ATWOOD; CHRISTINE CID;
 CHERALEE          ENGLAND;          KATHLEEN         [PROPOSED] ORDER
 GAGON; KRISTEN PUERTAS; JANICE                       GRANTING DEFENDANT’S
 RANDALL;        and SARAH            TYCHSEN,        MOTION TO CHANGE PARTY
 individually and on behalf of all others similarly   NAME ON DOCKET
 situated,
                                                      Case No. 1:24-cv-00046-TC-DAO
                             Plaintiffs,
                                                      Judge Tena Campbell
 vs.                                                  Magistrate Judge Daphne A. Oberg

 DOTDASH MEDIA, INC. D/B/A DOTDASH
 MEREDITH,

                        Defendant.
Case 1:24-cv-00046-TC-DAO Document 23 Filed 09/04/24 PageID.1217 Page 5 of 5




       Based on Defendant’s Motion to Change Party Name on Docket, and for good cause

shown, the Court hereby ORDERS:

       The Motion is GRANTED. The Clerk of Court shall change the party name on the docket

of this action from “Dotdash Media Inc. d/b/a Dotdash Meredith” to “Dotdash Meredith Inc. f/k/a

Dotdash Media Inc.”

       Dated this ____ day of ________, 2024.

                                                    BY THE COURT:



                                                    ____________________________
                                                    Magistrate Judge Daphne A. Oberg


                              *******END OF ORDER******




                               CERTIFICATE OF SERVICE

       I certify that on this 4th day of September, 2024, I filed the foregoing with the Court by

CM/ECF which then served all counsel of record.



                                                    /s/ Kristen C. Rodriguez
                                                    Kristen C. Rodriguez
